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                     EXHIBIT A
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                         NUMBER 13-23-00114-CV

                            COURT OF APPEALS

                  THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI – EDINBURG


GOOGLE LLC,                                                              Appellant,

                                          v.

THE STATE OF TEXAS,                                                       Appellee.


             ON APPEAL FROM THE 377TH DISTRICT COURT
                    OF VICTORIA COUNTY, TEXAS


                         MEMORANDUM OPINION
        Before Chief Justice Tijerina and Justices Silva and Peña
            Memorandum Opinion by Chief Justice Tijerina

      This appeal is from the denial of a special appearance filed by appellant Google

LLC. Appellee the State of Texas filed suit against appellant under the Texas Deceptive

Trade Practices Act (DTPA) on its own behalf seeking civil penalties for alleged

representations and omissions on appellant’s website and software that are accessible

nationwide. See TEX. BUS. & COM. CODE ANN. § 17.41 et seq. By three issues, Google
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contends that the trial court erred in denying its special appearance because there is

neither general nor specific jurisdiction in Texas, and traditional notions of fair play and

substantial justice do not support the exercise of personal jurisdiction in Texas. We

reverse and render.

                    I.     STANDARD OF REVIEW AND APPLICABLE LAW

       Subject-matter jurisdiction is essential to the authority of a court to decide a case.

Bland Indep. Sch. Dist. v. Blue, 34 S.W.3d 547, 554–55 (Tex. 2000). A special

appearance is a dilatory plea that challenges the trial court’s subject-matter jurisdiction

without regard to whether the asserted claims have merit. Harris County v. Sykes, 136

S.W.3d 635, 638 (Tex. 2004). Whether the trial court has personal jurisdiction over a

defendant is a question of law. BMC Software Belg., N.V. v. Marchand, 83 S.W.3d 789,

794 (Tex. 2002). Thus, we review the trial court’s ruling on a special appearance de novo.

Id. The trial court determines the special appearance by referring to the pleadings, any

stipulations made by and between the parties, any affidavits and attachments filed by the

parties, discovery, and any oral testimony. TEX. R. CIV. P. 120a(3). Because the question

of a court’s exercise of personal jurisdiction over a nonresident defendant is one of law,

we review a trial court's determination of a special appearance de novo. Moki Mac River

Expeditions v. Drugg, 221 S.W.3d 569, 574 (Tex. 2007); BMC Software Belg., 83 S.W.3d

at 793.

       Where, as here, the trial court does not issue findings of fact and conclusions of

law, all facts necessary to support the judgment and supported by the evidence are

implied, and we presume that the trial court resolved all factual disputes in favor of its



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ruling. BMC Software Belg., 83 S.W.3d at 795; Am. Type Culture Collection v. Coleman,

83 S.W.3d 801, 805–06 (Tex. 2002). These implied findings are not conclusive and may

be challenged for legal and factual sufficiency if the appellate record includes the

reporter’s and clerk’s records. BMC Software Belg., 83 S.W.3d at 795.

       Texas courts may assert personal jurisdiction over a nonresident if (1) the Texas

long-arm statute authorizes the exercise of jurisdiction, and (2) the exercise of jurisdiction

is consistent with federal and state constitutional due-process guarantees. Moki Mac, 221

S.W.3d at 574; Gray, Ritter & Graham, PC v. Goldman Phipps PLLC, 511 S.W.3d 639,

654 (Tex. App.—Corpus Christi–Edinburg 2015, pet. denied). The Texas long-arm statute

allows Texas courts to exercise personal jurisdiction over a nonresident defendant that

“does business” in Texas. See TEX. CIV. PRAC. & REM. CODE ANN. § 17.042; BMC

Software Belg., 83 S.W.3d at 795. The Texas long-arm statute sets out several activities

that constitute “doing business” in Texas; however, the list is not exclusive, and Texas’s

long-arm statute’s “broad language extends Texas courts’ personal jurisdiction ‘as far as

the federal constitutional requirements of due process will permit.’” Id. (quoting U-Anchor

Adver., Inc. v. Burt, 553 S.W.2d 760, 762 (Tex. 1977)). Therefore, “the requirements of

the Texas long-arm statute are satisfied if the exercise of personal jurisdiction comports

with federal due process limitations.” CSR Ltd. v. Link, 925 S.W.2d 591, 594 (Tex. 1996).

       Under the Due Process Clause of the Fourteenth Amendment of the United States

Constitution, a Texas court has personal jurisdiction over a nonresident defendant when

(1) the nonresident defendant has established minimum contacts with the forum state,

and (2) the exercise of jurisdiction does not offend “traditional notions of fair play and



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substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945); BMC

Software Belg., 83 S.W.3d at 795; see U.S. CONST. amend. XIV, § 1. “The exercise of

personal jurisdiction is proper when the contacts proximately result from actions of the

nonresident defendant which create a substantial connection with the forum state.”

Guardian Royal Exch. Assurance, Ltd. v. Eng. China Clays, P.L.C., 815 S.W.2d 223, 226

(Tex. 1991).

       The plaintiff bears the initial burden of pleading “sufficient allegations to bring a

nonresident defendant within the provisions of the [Texas] long-arm statute.” BMC

Software Belg., 83 S.W.3d at 793. The Texas long-arm statute authorizes the exercise of

jurisdiction over a nonresident defendant doing business in Texas. TEX. CIV. PRAC. & REM.

CODE ANN. §§ 17.041–.045. Texas’s long-arm statute provides:

       In addition to other acts that may constitute doing business, a nonresident
       does business in this state if the nonresident:

                (1) contracts by mail or otherwise with a Texas resident and either
                party is to perform the contract in whole or in part in this state;

                (2) commits a tort in whole or in part in this state; or

                (3) recruits Texas residents, directly or through an intermediary
                located in this state, for employment inside or outside this state.

Id. § 17.042.

       Once the plaintiff pleads sufficient allegations to bring a nonresident defendant

within the provisions of the Texas long-arm statute, the burden is on the defendant to

challenge personal jurisdiction by filing a special appearance negating all bases of

personal jurisdiction asserted by the plaintiff in its pleading. Moki Mac, 221 S.W.3d at 574;




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BMC Software Belg., 83 S.W.3d at 793; El Puerto de Liverpool, S.A. de C.V. v. Servi

Mundo Llantero, S.A. de C.V., 82 S.W.3d 622, 628 (Tex. App.—Corpus Christi–Edinburg

2002, pet. dism’d w.o.j.).

       The defendant’s contacts with the forum state may establish either specific or

general jurisdiction over the nonresident defendant. Helicopteros Nacionales de

Colombia, S.A. v. Hall, 466 U.S. 408, 414 (1984). General jurisdiction allows for the

nonresident defendant to be sued in the forum state for all claims even if the claims are

not related to the nonresident defendant’s activities in that state. BMC Software Belg., 83

S.W.3d at 796. In other words, the defendant is treated as if the defendant’s contacts with

the forum state have been so constant, the defendant has been essentially rendered “at

home” in the forum state, which is the equivalent to the defendant either having a principal

place of business in the forum state or being incorporated there. See BNSF Ry. Co. v.

Tyrrell, 581 U.S. 402, 406 (2017); Daimler AG v. Bauman, 571 U.S. 117, 127 (2014).

       Specific jurisdiction over the nonresident defendant is present if the defendant

purposefully directed his activities at residents of Texas and the litigation arose from or

related to those contacts. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985);

Helicopteros Nacionales de Colombia, S.A., 466 U.S. at 414; Guardian Royal Exch.

Assurance, Ltd., 815 S.W.2d at 227.

       Even if the nonresident defendant has purposefully availed himself of personal

jurisdiction in Texas, we must also conclude that the defendant’s liability arises from or is

substantially connected to those contacts. See Burger King, 471 U.S. at 472; Helicopteros

Nacionales de Colombia, S.A., 466 U.S. at 414; Guardian Royal Exch. Assurance, Ltd.,



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815 S.W.2d at 226. Thus, we review the substantial connection between the operative

facts of the litigation based on the claims involved in the litigation and the defendant’s

contacts with Texas. Retamco Operating, Inc. v. Republic Drilling Co., 278 S.W.3d 333,

340 (Tex. 2009).

                               II.    GENERAL JURISDICTION

       By its first issue, appellant contends that appellee failed to establish that it is “at

home” in Texas; therefore, there is no evidence of general jurisdiction.

A.     Applicable Law

       General or all-purpose personal jurisdiction requires that a defendant be

“essentially at home” in the forum state. State v. Volkswagen Aktiengesellschaft, 669

S.W.3d 399, 412 (Tex. 2023) (quotation marks omitted). “This kind of personal jurisdiction

allows courts to render a binding judgment against a defendant even if the plaintiff’s

claims neither arise from activities conducted in the forum state nor relate to the forum

state or the defendant’s activity there.” Id. (cleaned up). Under general jurisdiction, the

cause of action “may concern events and conduct anywhere in the world.” Id. (quotation

marks omitted).

       Specific jurisdiction requires that the operative facts of the defendant’s acts relate

to the plaintiff’s claims; general jurisdiction allows a defendant to be sued “on any and all

claims against it, wherever in the world the claims may arise.” Daimler AG, 571 U.S. at

121. In other words, under general jurisdiction, there is no need to tie the defendant’s acts

with the plaintiff’s claims. Id. at 132 (“[A] corporation’s ‘continuous activity of some sorts

within a state is not enough to support the demand that the corporation be amenable to



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suits unrelated to that activity.’”); see also Grupo Mex. S.A.B. de C.V. v. Mt. McKinley Ins.

Co. and Everest Reinsurance Co., No. 13-17-00134-CV, 2020 WL 486501, at *4 (Tex.

App.—Corpus Christi–Edinburg Jan. 30, 2020, pet. denied) (mem. op.) (“General

jurisdiction, on the other hand, does not require a nexus between the defendant’s in-state

contacts and the plaintiff’s claim; instead, the focus is solely on the defendant’s contacts

with the forum.”). We must only focus on the defendant’s contacts with the forum state.

See Helicopteros Nacionales de Colombia, S.A., 466 U.S. at 414; see also Grupo Mex. ,

2020 WL 486501, at *4.

B.     Discussion

       Appellant contends that it met its burden to negate general jurisdiction because

“the undisputed facts confirm that this is not an exceptional case for general jurisdiction.”

Specifically, appellant argues that its “operations in Texas represent a small fraction of its

operations across the country and across the world” because it employs 58,500 people

in California and 169,000 people worldwide, while in contrast it has a total of 2,400

permanent employees in Texas. Appellant states that even considering its temporary

employees, interns, advisers, vendors, and other miscellaneous employees which total

approximately 5,500 employees in Texas, its number of employees in Texas is not

enough to support a conclusion that appellant is “essentially at home” in Texas. In addition

to tying appellant to Texas based on appellant’s 5,500 Texas employees, appellee claims

that general jurisdiction applies because appellant has one of its four data centers in




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Texas.1 According to appellee, “Texas accounts for approximately 8.9%” of appellant’s

U.S. revenue and 4% of its worldwide revenue. Thus, appellee argues that general

jurisdiction over appellant exists due the number of employees appellant has in Texas,

the fact that appellant has one of four data centers in Texas, and 8.9% of appellant’s

revenue in the United States and 4% of its worldwide revenue is made in Texas.

      In BNSF Ry., the United States Supreme Court stated that under general

jurisdiction principles, its due process precedent under the Fourteenth Amendment does

not support for “a State to hale an out-of-State corporation before its court when the

corporation is not ‘at home’ in the State . . . .” 581 U.S. at 405–06. The Court explained

that “[t]he ‘paradigm’ forums in which a corporate defendant is ‘at home’ . . . are the

corporation’s place of incorporation and its principal place of business.” Id. at 413.

However, only in an “exceptional case,” the Court explained could “a corporate

defendant’s operations in another forum” be “so substantial and of such a nature as to

render the corporation at home in that State.” Id. The Court cited Perkins v. Benguet

Consol. Mining Co., as being one such exceptional case. 342 U.S. 437, 447–48 (1952).

In that case, the corporation was forced by war “to temporarily relocate the enterprise

from the Philippines to Ohio.” BNSF Ry., 581 U.S. at 413. Therefore, according to the

United States Supreme Court, Ohio had general jurisdiction over the defendant

corporation “[b]ecause Ohio then became ‘the center of the corporation’s wartime

activities.’” Id. In Daimler AG, the United States Supreme Court clarified that it has



      1 According to appellee, appellant has 250 employees at the Texas data center.




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 “declined to stretch general jurisdiction beyond limits traditionally recognized” in Perkins.

 571 U.S. at 132.

        The BNSF Ry. Court emphasized that the defendant was not amenable to general

 jurisdiction because it had not been incorporated in the forum State and did not maintain

 a principal place of business there. BNSF Ry., 581 U.S. at 414. The Court noted that the

 defendant corporation, BNSF, had over 2,000 miles of railroad track and more than 2,000

 employees in the forum state; however, general jurisdiction analysis “does not focus

 solely on the magnitude of the defendant’s in-state contacts.” Id. The activities of the

 defendant must amount to having its principal place of business in the forum state. See

 id.

        Here, it is undisputed that appellant is not incorporated in Texas and does not

 maintain a principal place of business there. See id. at 413. “Those affiliations have the

 virtue of being unique—that is, each ordinarily indicates only one place—as well as easily

 ascertainable.” Daimler AG, 571 U.S. at 137. Additionally, allegations that the defendant

 maintains in-state business alone does not suffice to subject a corporation to general

 jurisdiction. See id. at 137–38. The United States Supreme Court rejected the argument

 that a State has general jurisdiction over that defendant because the defendant conducts

 some business in that state. See id. The Court stated, “Plaintiffs would have us look

 beyond the exemplar bases [such as having a principal place of business in the state or

 being incorporated in the states as] Goodyear identified, and [instead] approve the

 exercise of general jurisdiction in every State in which a corporation ‘engages in a

 substantial, continuous, and systematic course of business’”; however, “[t]hat



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 formulation . . . is unacceptably grasping.” Id. (discussing Goodyear Dunlop Tires Ops.,

 S.A. v. Brown, 564 U.S. 915, 919, 924 (2011)).

        The United States Supreme Court explained that “the words ‘continuous and

 systematic’ were used in International Shoe to describe situations in which the exercise

 of specific jurisdiction would be appropriate.” Id. at 138. Instead, the proper question in a

 general jurisdiction analysis is: “whether [a foreign] corporation’s ‘affiliations with the State

 are so continuous and systematic as to render [it] essentially at home in the forum State.’”

 Id. at 138–39 (internal quotations omitted).

        In Perkins, the defendant admittedly and indisputably moved its principal place of

 business to Ohio; that is not the case here. See id.; see also BNSF Ry., 581 U.S. at 413;

 Daimler AG, 571 U.S. at 132 (setting out that “the placement of a product into the stream

 of commerce ‘may bolster an affiliation germane to specific jurisdiction,’” but “such

 contacts ‘do not warrant a determination that, based on those ties, the forum has general

 jurisdiction over a defendant’”). Appellant has not temporarily relocated its business to

 Texas, and we find no authority supporting a conclusion that it is sufficient to find general

 jurisdiction based merely on appellant conducting the amount of business it performs in

 Texas or employing its number of employees in Texas. Thus, we are not persuaded that

 appellant’s contacts with Texas are sufficient to find under guiding precedent that

 appellant is “essentially at home” in Texas. See BNSF Ry., 581 U.S. at 413; see also

 Daimler AG, 571 U.S. at 129 (explaining that Perkins “remains the textbook case of

 general jurisdiction appropriately exercised over a foreign corporation that has not

 consented to suit in the forum”) (internal quotations omitted). To subject appellant to



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 general jurisdiction in Texas, would allow that appellant “be sued on any and all claims

 against it [in Texas], wherever in the world the claims may [have] arise[n]” because its

 business in Texas equates with it having its principal place of business in Texas. See

 Daimler AG, 571 U.S. at 121. The crux of Perkins, according to the United States

 Supreme Court, is that Ohio, the forum state, had become “the corporation’s principal, if

 temporary, place of business.’” Daimler AG, 571 U.S. at 130 (citing Keeton v. Hustler

 Mag., Inc., 465 U.S. 770, 780, n.11 (1984)). Here, that is not the case; it is undisputed

 that appellant has not made Texas its temporary principal place of business and appellee

 has not made such a claim. Furthermore, we are without authority to support a conclusion

 that appellant’s business dealings as previously set out above in Texas have in essence

 made Texas its principal place of business. See id. We agree with appellant that general

 jurisdiction requires that the out-of-state corporate defendant’s in-state activities be

 equivalent to the defendant incorporating or establishing a principal place of business in

 the forum that is rendering them “essentially home in the forum state.” See Goodyear,

 564 U.S. at 919, 924; Volkswagen, 669 S.W.3d at 412; see also Grupo Mex., 2020 WL

 486501, at *4. The small percentage of business that appellant performs in Texas as

 alleged by appellee does not even amount to substantial, continuous, and systematic

 contacts, but even if it does, the United States Supreme Court has disavowed that rubric

 as the proper measure of analyzing general jurisdiction. See Goodyear, 564 U.S. at 919,

 924; Volkswagen, 669 S.W.3d at 412; see also Grupo Mex., 2020 WL 486501, at *4.

 Instead, general jurisdiction analysis “calls for an appraisal of a corporation’s activities in

 their entirety, nationwide and worldwide.” See Daimler AG, 571 U.S. at 139 n.20. From



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 our appraisal of the record before us, appellant’s activity in Texas compared with its

 nationwide and worldwide activity does not support a conclusion that appellant has made

 Texas its home. See id. Appellee’s allegations are insufficient to meet its initial burden.

 Moreover, without more, these allegations effectively negate the trial court’s general

 jurisdiction. Appellant cannot be “essentially at home” in every foreign jurisdiction where

 it operates. See BNSF Rye., 581 U.S. at 413; Daimler AG, 571 U.S. at 139 & n.20;

 Goodyear, 564 U.S. at 919; Perkins, 342 U.S. at 447–48; see also Grupo Mex., 2020 WL

 486501, at *6.

           Therefore, we conclude that appellant negated general jurisdiction in Texas under

 these facts and that the trial court should have granted its special appearance on general

 jurisdiction grounds. See Daimler AG, 571 U.S. at 132 (“[A] corporation’s ‘continuous

 activity of some sorts within a state is not enough to support the demand that the

 corporation be amenable to suits unrelated to that activity.’”). We sustain appellant’s first

 issue.2


         2 In its response to appellant’s special appearance, appellee lists all properties owned by appellant

 as evidence that general jurisdiction applies. Specifically, appellee lists the following:

           • 800,000 square feet in the 35-floor Google Tower (Austin)

           • The top 10 floors of the 500 West 2nd building (Austin)

           • 150,000 square feet across all seven floors of a Saltillo building (Austin)

           • 11,000 square feet in the One Buffalo Heights building (Houston)

           • At least one office in Dallas, Texas (Dallas)

           • A $600 million data center (Midlothian)

           • A planned $600 million data center (Red Oak)

           • A Google Fiber Kiosk (San Antonio)




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                                    III.    SPECIFIC JURISDICTION

         By its second issue, appellant contends that in its petition, appellee did not allege

 facts supporting a conclusion that Texas has specific jurisdiction over appellant and that

 it negated specific jurisdiction. Specifically, appellant argues that its contacts do not

 amount to purposeful availment and no substantial connection exists between its contacts

 with Texas and the operative facts of the litigation.

 A.      Applicable Law

         Specific personal jurisdiction focuses on the defendant’s connections with the state

 and its relationship to the plaintiff’s claims. See Volkswagen, 669 S.W.3d at 412. In our

 specific-jurisdiction analysis we measure the two co-equal components of relatedness

 and purposeful availment. Moki Mac , 221 S.W.3d at 579. The relatedness inquiry defines

 “the appropriate ‘nexus between the nonresident defendant, the litigation, and the forum.’”

 Luciano v. SprayFoamPolymers.com, LLC, 625 S.W.3d 1, 14 (Tex. 2021) (quoting Moki

 Mac, 221 S.W.3d at 579). “[T]he exercise of specific jurisdiction is prohibited if ‘the suit’

 does not ‘arise out of or relate to the defendant’s contacts with the forum.’” Id. (alterations

 omitted). Thus, the lawsuit must arise from or relate to “‘some act by which the defendant

 purposefully avails itself of the privilege of conducting activities within the forum State,

 thus invoking the benefits and protections of its laws.” Id. at 9 (citing Hanson v. Denckla,


         • Additional Google offices (Addison)

 However, as set out by the United States Supreme Court, we must appraise appellant’s contacts in Texas
 by comparing them with appellant’s nationwide and worldwide business. See Daimler AG v. Bauman, 571
 U.S. 117, 139 n.20 (2014). And here there is no evidence that appellant’s contacts in Texas are the same,
 equal to, or greater than its worldwide and nationwide contacts as to render Texas its principal place of
 business.




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 357 U.S. 235, 253 (1958)).

        “The ‘touchstone of jurisdictional due process [is] ‘purposeful availment.’” Id. The

 defendant’s act in the forum state must amount to it purposefully availing “‘itself of the

 privilege of conducting activities within the forum State, thus invoking the benefits and

 protections of its laws.’” Id. (quoting Hanson v. Denckla, 357 U.S. 235, 253 (1958)). A

 defendant that has “‘deliberately’ engaged in significant activities within a state,” has

 ““manifestly . . . availed himself of the privilege of conducting business there.” Id. (quoting

 Burger King, 471 U.S. at 475–76 (cleaned up)). Therefore, because the defendant has

 availed itself of the “‘benefits and protections’ of the forum’s laws, it is ‘presumptively not

 unreasonable to require him to submit to the burdens of litigation in that forum as well.’”

 Id.

        Whether the defendant has had minimum contacts with the forum state depends

 solely on the defendant’s acts within that state. Id. Additionally, “fortuitous” or “attenuated”

 contacts cannot “be relied upon to satisfy the requirements of due process.” Id. “Rather,

 whether due process is satisfied depends upon ‘the quality and nature of the activity in

 relation to the fair and orderly administration of the laws.’” Id. (quoting Int’l Shoe, 326 U.S.

 at 319).

        Even when a defendant has had purposeful contacts with the forum states, “the

 exercise of specific jurisdiction is prohibited if ‘the suit’ does not aris[e] out of or relat[e] to

 the defendant’s contacts with the forum.” Id. at 14. This relatedness doctrine requires a

 nexus between the defendant’s contacts and the litigation and the forum. Id. There must

 be a “substantial connection” between the operative facts of the litigation and the



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 defendant’s contacts with the state. Id. In other words, “there must be ‘an affiliation

 between the forum and the underlying controversy, principally, [an] activity or an

 occurrence that takes place in the forum State and is therefore subject to the State’s

 regulation.’” Id.

 B.     Relatedness

        Appellant argues that we should begin our analysis of specific jurisdiction by

 examining the relatedness doctrine first. Appellant states, that appellee’s “live petition

 identifies various general business contacts that Google has with Texas, which are

 insufficient to be ‘at home’ in the state and also wholly unrelated to this case.” Appellant

 claims that “[e]ven a ‘flood’ of purposeful contacts with a forum state is irrelevant if ‘the

 suit’ does not ‘arise out of or relate to the defendant’s contacts with the forum.’” Because

 we agree with appellant, we will first analyze whether the contacts as alleged by appellee

 are related to the operative facts and the State of Texas. See id.

        1.      The Allegations

        Appellee sued appellant pursuant to the DTPA. Appellee alleged that appellant

        has become one of the richest companies in the world, in part, by deceiving
        Texans and profiting off their confusion. Specifically, [appellant] has
        systematically misled, deceived, and withheld material facts from users in
        Texas about how and why their behavior is tracked and how to stop
        [appellant] from monetizing their personal data. As relevant to this Petition,
        [appellant]’s deceptive practices fall into two closely related buckets:
        tracking location history and tracking private-browsing activity.

        Appellee accused appellant of deceiving Texas residents into believing that users

 can disable location tracking. In addition, appellee accused appellant of collecting Texas

 users browsing history, even when the users believe that they are not being tracked by



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 appellant because appellant claims that its users can go incognito, which appellee claims

 is a sham. According to appellee, appellant lies about how it tracks and collects data

 about its Texas users, and Texas residents are unaware of this deception. Appellee avers

 that appellant’s deception to Texas users is motivated by appellant’s desire for more

 profits from the information it gathers unbeknownst to its users. Appellee alleged that

 appellant misleads Texas users through both misrepresentations and omissions.

        Appellee stated that appellant does the following:

        [(1)] uses its window into millions of Texans’ personal lives to sell “targeted”
        advertising designed to exert the maximum influence over those users. In
        so doing, the Company has reaped spectacular gains at the expense of
        Texans’ privacy. Indeed, [appellant] has generated hundreds of millions—if
        not billions—of dollars of advertising revenues from ads presented to users
        in Texas alone.

        ....

        [(2)] has caused and will cause adverse effects to consumers in Texas, to
        legitimate business enterprises which lawfully conduct trade and commerce
        in this state, and to the State of Texas. Therefore, the Consumer Protection
        Division of the Office of the Attorney General of the State of Texas is of the
        opinion that these proceedings are in the public interest.

        2.     Discussion

        To prevail, appellee must show that there is a “substantial connection” between

 appellant’s contacts and the operative facts of the litigation.” Id. If the focus of the trial

 involves facts that occur outside of the forum state, then the operative facts are not

 sufficiently related. Moki Mac, 221 S.W.3d at 585. Thus, if the events that took place

 outside of Texas would “consume most if not all of the litigation’s attention” and “the

 overwhelming majority of the evidence [would] be directed” at events outside of Texas,




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 then the contacts are not sufficiently related to the litigation’s operative facts. Id. “[A]

 nonresident directing a tort at Texas from afar is insufficient to confer specific jurisdiction.”

 Moncrief Oil Int’l Inc. v. OAO Gazprom, 414 S.W.3d 142, 157 (Tex. 2013). In our analysis

 of the relatedness doctrine, we consider what the principal complaint involves. TV Azteca

 v. Ruiz, 490 S.W.3d 29, 53 (Tex. 2016).

         Appellees do not specifically plead allegations that the operative facts of the

 litigation are related to appellant’s contacts with Texas. See Luciano, 625 S.W.3d at 8

 (the plaintiff bears the initial burden to plead allegations sufficient to confer jurisdiction).

 Nonetheless, the evidence shows that appellant’s alleged contacts with Texas were made

 by appellant’s employees who were not in Texas. Appellee has not alleged that any of

 appellant’s Texas employees made the misleading statements. Thus, the evidence shows

 that appellant’s employees directed the alleged misleading statements from afar, which

 is insufficient to confer specific jurisdiction. See Moncrief Oil Int’l Inc., 414 S.W.3d at 157.

 The principal complaint that the terms of service and disclosures made by appellant were

 misleading requires that the overwhelming evidence be directed at events outside of

 Texas. 3       Id.   Stated     differently,     appellee      has     not    identified     an     “activity    or



         3 In Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 592 U.S. 351, 365 (2021), the product that the

 defendant marketed in the forum state caused injury in that state. See id. The Ford court explained that the
 allegations that the products caused the plaintiffs’ injuries in the forum state was related to Ford’s activities
 of selling its products in the forum states and emphasized that the ads in the local media and instate
 activities possibly caused the plaintiffs to purchase the vehicles. Id. at 367. Thus, the operative facts of the
 litigation regarding the plaintiff’s injuries occurring in the forum states were related to Ford’s activities in the
 forum states. See id. Here, appellee has not alleged that the product itself caused the injury. Instead,
 appellee asserts that appellant’s employees who were not in Texas caused the complained-of injuries while
 not in Texas. Thus, the operative facts all occurred outside of Texas, and we cannot conclude that under
 these facts, Ford applies. See id.at 366 (“That is why this Court has used this exact fact pattern (a resident-
 plaintiff sues a global car company, extensively serving the state market in a vehicle, for an in-state
 accident) as an illustration—even a paradigm example—of how specific jurisdiction works.” (emphasis



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 occurrence . . . that takes place in” Texas. See Ford Motor Co. v. Mont. Eighth Jud. Dist.

 Ct., 592 U.S. 351, 362 (2021) (cleaned up). Accordingly, we cannot conclude that

 appellee met its initial burden to show that appellant’s allegedly tortious conduct occurring

 outside of Texas is sufficient to confer specific jurisdiction over appellant. See Moncrief

 Oil Int’l Inc., 414 S.W.3d at 157; see also Ford Motor Co., 592 U.S. at 362 n.3 (rejecting

 the “view that a state court should have jurisdiction over a nationwide corporation . . . on

 any claim, no matter how unrelated to the State or [the corporation’s] activities there” and

 explaining that “[r]emoving the need for any connection between the case and forum State

 would transfigure our specific jurisdiction standard as applied to corporations”). We

 sustain appellant’s second issue.

                                     IV.    CONCLUSION

        The trial court’s order denying the special appearance is reversed and judgment

 is rendered dismissing all of appellee’s claims against appellant for want of personal

 jurisdiction.

                                                                        JAIME TIJERINA
                                                                        Chief Justice

 Delivered and filed on the
 9th day of January, 2025.




 added)).




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